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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                        :
                                                :       Case No. 23-CR-143 (APM)
                v.                              :
                                                :
MICHAEL DANIELE                                 :
                                                :
                       Defendant.               :

                               JOINT PRETRIAL STATEMENT

       Pursuant to the Court’s Minute Entry dated January 10, 2024, the parties submit the

following joint pretrial statement:

       1.       Proposed Statement of the Case

       This is a criminal case. The United States has charged the defendant in connection with

events that occurred at the United States Capitol on January 6, 2021. The Indictment alleges that

the defendant obstructed law enforcement officers during a civil disorder; entered and remained in

the restricted U.S. Capitol building and grounds; and engaged in disorderly and disruptive conduct

in restricted U.S. Capitol building and grounds.

       The Defendant denies all the material factual and legal allegations in the indictment.

Defendant asserts he lacked the requisite “mens rea” (criminal intent) and that the Government

further must prove beyond a reasonable doubt that Defendant knew at the time of the alleged

offenses that a Secret Service protectee was present at the Capitol, to include Vice President. The

parties stipulate that Defendant via counsel reserves the right at trial to move for a Rule 29 motion

for a judgment of acquittal under the Federal Rules of Criminal Procedure.

       2.       Estimate of the Number of Trial Days

       The parties anticipate that the trial will last three trial days.




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        3.        Witnesses

        The government anticipates calling the following witnesses, but may add or remove

witnesses as the trial date gets closer.

              •   Ronald Ortega (USCP)
              •   David Cruz (USCP)
              •   Timothy Lively (USCP)
              •   Lani Hawa (USSS)
              •   Andrew Semmel (FBI)

        The defense anticipates calling the following witnesses, but may add or remove witnesses

as the trial gets closer.

              •   Defendant Michael Daniele

        4.        Expert Witnesses

        Neither party intends to call any expert witnesses in its case-in-chief.

        5.        List of Outstanding Motions

              •   Government’s Motion in Limine to preclude improper defense arguments and

                  evidence about law enforcement (ECF No. 36)

              •   Government’s Motion in Limine to limit the cross-examination of U.S. Secret

                  Service Witnesses (ECF No. 37)

              •   Government’s Motion in Limine regarding evidence about specific locations of

                  CCTV cameras (ECF No. 38)

              •   Defendant’s Motion to take judicial notice (ECF No. 42)

        6.        Proposed Voir Dire

        Given that the parties are proceeding with a bench trial, the parties have not submitted

proposed voir dire.




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       7.        Proposed Legal Instructions

       The proposed legal instructions are attached as Exhibit A. The parties agree on the legal

instructions, with the exception that defense’s position is that 18 U.S.C. § 1752 requires that

government to prove that the defendant knew that there a U.S. Secret Service Protectee at the

Capitol.

       8.        List of Prior Convictions

       The government is not aware of any prior convictions of the defendant.

       9.        List of Exhibits

       A copy of the government’s exhibit list is attached as Exhibit B. A binder of the non-video

exhibits that the government intends to use at trial will be separately provided to the court.

       Defendant Michael Daniele’s exhibit list was filed on the docket (ECF No. 43), and the

government does not object to any of their current exhibits.

       10.       Stipulations

       The parties have agreed to a number of stipulations, which are attached as Exhibit C.

       11.       Judicial Notice

       In its response to the government’s Motion in Limine Regarding Cross-Examination of

Secret Service Witnesses (ECF No. 40), and separately in a Motion to Take Judicial Notice (ECF

No. 42), the defendant moved for the Court to take judicial notice of the following cases:

             •   United States v. Paul Russell Johnson, 21-cr-537 (JMC) (D.D.C. February 9, 2024)

                 (ECF No. 345).

             •   United States v. David Elizalde, 23-cr-170 (CJN) (D.D.C. December 1, 2023) (ECF

                 No. 39).




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             •   United States v. Jeremy Daniele Groseclose, 21-cr-311 (CRC) (D.D.C. January 5,

                 2024) (ECF No. 99).

       12.       Proposed Verdict Form

       Given that the parties are proceeding with a bench trial, the parties have not submitted a

verdict form.

                                       Respectfully submitted,

                                       MATTHEW M. GRAVES
                                       United States Attorney
                                       DC Bar No. 481052


                                       /s/ Sarah C. Martin
                                       Sarah C. Martin
                                       Carolyn Jackson
                                       Assistant United States Attorneys




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